
248 S.E.2d 864 (1978)
295 N.C. 734
LEVITON MANUFACTURING COMPANY, INCORPORATED
v.
BUTCH MANUFACTURING COMPANY.
Supreme Court of North Carolina.
November 3, 1978.
Turner, Enochs, Foster &amp; Burnley, for defendant.
Patton, Starnes &amp; Thompson, for plaintiff.
Defendant's notice of appeal and petition for discretionary review under G.S. § 7A-31. 37 N.C.App. 726, 247 S.E.2d 1. Petition. Motion of the Plaintiff to dismiss the appeal for lack of substantial constitutional question. Allowed.
